 

Case 3:13-cv-01073-AWT Document 39 Filed 02/26/14 Page 1 of 2

AO 120 (Rev. 08/10)

 

 

 

 

 

 

 

 

TO: Mail Stop 8 REPORT ON THE

, Director of the U.S. Patent and Trademark Office FILING OR DETERMINATION OF AN

P.O. Box 1450 ACTION REGARDING A PATENT OR
Alexandria, VA 22313-1450 TRADEMARK
In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
filed in the U.S. District Court DISTRICT OF CONNECTICUT on the following
[Mj Trademarks or CL Patents. ( (] the patent action involves 35 U.S.C. § 292.):

DOCKET NO. DATE FILED U.S. DISTRICT COURT

3:13CV1073 (AWT) 7/29/2013 DISTRICT OF CONNECTICUT
PLAINTIFF DEFENDANT

BARBARA M. DEPASQUALE

 

DUNKIN BRANDS, INC., ET AL.

 

PATENT OR
TRADEMARK NO.

DATE OF PATENT
OR TRADEMARK

HOLDER OF PATENT OR TRADEMARK

 

 

 

 

 

 

 

 

 

In the above—entitled case, the following patent(s)/ trademark(s) have been included:

 

DATE INCLUDED

INCLUDED BY
(J Amendment

(] Answer C1 Cross Bill (] Other Pleading

 

PATENT OR
TRADEMARK NO.

DATE OF PATENT
OR TRADEMARK

HOLDER OF PATENT OR TRADEMARK

 

 

 

 

 

 

 

 

 

In the above—entitled case, the following decision has been rendered or judgement issued:

 

DECISION/JUDGEMENT
See Attached

 

 

CLERK

 

ROBERTA D. TABORA

 

(BY) DEPUTY CLERK DATE
ROBERT WOOD 2/26/2014

 

 

Copy 1—Upon initiation of action, mail this copy to Director

Copy 3—Upon termination of action, mail this copy to Director

Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy

 

 

 

 
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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

BARBARA M. DEPASQUALE
Plaintiff,
CASE NO. 3:13CV1073 (AWT)
V.
DUNKIN' BRANDS, INC.,
DD IP HOLDER, LLC.,
DUNKIN' BRANDS GROUP, INC.

Defendants.

ORDER

The parties have reported that this action has been settled in
full. Rather than continue to keep the case open on the docket,
the Clerk is directed to administratively close the file without
prejudice to reopening on or before March 28, 2014.

If the parties wish to file a stipulation of dismissal (for
approval by the court or simply for inclusion in the court’s file),
they may do so on or before March 28, 2014.

The dates sets for in this order may be extended for good
cause pursuant to a motion filed in accordance with Local Rule
7(b).

So Ordered.

Dated at Hartford, Connecticut this 26th day of February,

2014.

/s/ AWT
Alvin W. Thompson
United States District Judge
